               IN THE UNITED STATES DISTRICT COURT FOR THE
                       MIDDLE DISTRICT OF TENNESSEE
                            NASHVILLE DIVISION

UNITED STATES OF AMERICA                           )
                                                   )
                                                   )
v.                                                 )      Criminal No. 3:13-00153
                                                   )      Judge Trauger
[1] DORIAN AYACHE and                              )
[2] THERESA C. VINCENT                             )

                                           ORDER

       It is hereby ORDERED that the status conference scheduled for July 21, 2014 at 1:30

p.m. is RESET for the same day at 2:00 p.m.

       It is so ORDERED.

       ENTER this 16th day of July 2014.




                                                   ________________________________
                                                         ALETA A. TRAUGER
                                                           U.S. District Judge




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